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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


                                    )
ERIC SWALWELL,                      )
                                    )
                 Plaintiff,         )
                                    ) Civil Case No. 1:21-cv-00586 APM
  v.                                )
                                    )
DONALD J. TRUMP, et al.,            )
                                    )
                 Defendants.        )
                                    )


          MEMORANDUM IN SUPPORT OF DONALD J. TRUMP
           AND DONALD TRUMP JR.’S MOTION TO DISMISS


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Sarah Ferris and Ally Mutnick, Democrat drops election contest in Iowa house race,

  Politico (March 31, 2021), https://www.politico.com/news/2021/03/31/democrat-

  drops-election-contest-in-iowa-house-race-478736 ------------------------------------------- 3

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      Congressman Eric Swalwell brought this lawsuit, blaming his emotional infir-

mities on former President Trump, Donald Trump, Jr., and the other Defendants.

Plaintiff’s theories run directly afoul of well-established, important, constitutional

doctrines. Despite his pledge to support and defend the Constitution of the United

States, Mr. Swalwell comes to this Court directly attacking First Amendment doc-

trines which lie at the heart of the uniquely American traditions of free speech, free

assembly, and freedom to petition the government without fear of reprisal. His alle-

gations stem from political statements (often taken out of context) made by Defend-

ants on social media, to the press, and at a political rally. In bringing this suit, the

Congressman asks this Court to wade into turbulent political waters to decide what

controversial speech should be favored. The Court should firmly reject that invitation.


      The claims against former President Trump directly contravene the absolute

immunity conveyed on the President by the Constitution as a key principle of sepa-

ration of powers. Even while assuming, as we must at this stage, the averments in

his Complaint are true, he has failed to plausibly plead any viable or plausible con-

spiracy theory against Defendants. Instead, he continues to repeat his steady diatribe

of the same baseless and misleading allegations rejected by the Senate in Mr. Swal-

well’s second failed impeachment attempt earlier this year. His attempt at turning

important and historic civil rights statutes into political weapons to weaken critical

constitutional protections should be soundly rejected. The case should be dismissed.




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                                    BACKGROUND

      Donald J. Trump, the 45th President of the United States, is known for enthu-

siastic, passionate, and patriotic speeches. These addresses strongly support Ameri-

can values and vigorously oppose the agendas of Washington D.C.’s establishment

bureaucrats. President Trump has fought, and continues to fight, against politics as

usual as no American leader has before. While his passion, grit, and commitment has

gained him admiration and love from many millions of Americans, it has also brought

scorn from his political adversaries.

      After the 2020 election, former President Donald J. Trump; his son, Donald

Trump, Jr.; and countless others raised serious and important questions about the

purported results of elections held in several states. Due to concerning incidents in

several states, Mr. Trump and his supporters were engaged in litigation, recounts,

and appeals in the weeks and months after the election. During this time, Mr. Trump

reached out to his supporters to encourage their continued support as well as dona-

tions to support his efforts.

      Post-election challenges are not unusual. For months after the election, a Dem-

ocratic candidate for the U.S. House of Representatives continued to claim she was

the winner of a Congressional seat in Iowa. Ms. Rita Hart continued to press her

claim that she should have been the rightfully elected congresswoman for Iowa’s 2nd




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Congressional District1 until she dismissed that action on April 5, 2021, five months

after the election.2 Ms. Hart’s challenge came after a fully certified election and re-

count under the state laws of Iowa. Ms. Hart was seeking to have the U.S. House of

Representatives overturn the election despite the state’s procedures.

       Democratic members of Congress contested the certification of electors after

the 2004 and 2016 elections. Stacy Abrams also persisted in claims that she won her

race for Governor of Georgia for many months after the election, never officially ad-

mitting she lost;3 instead, she alleged, “it was not a fair election,” provided no credible

evidence to that point, and refused to concede. Indeed, from the 2000 dispute between

George W. Bush and Al Gore to the 1960 elector faceoff between John F. Kennedy

and Richard Nixon, election disputes are part of the American democratic frame-

work.4 The challenges to the 2020 election were critical but hardly unique.


       1 Kristina Peterson,   Iowa Election Challenge Alarms Some House Democrats,
Wall Street Journal (March 25, 2021), https://www.wsj.com/articles/iowa-election-
challengealarms-some-house-democrats-11616677200.

       2 Sarah  Ferris and Ally Mutnick, Democrat drops election contest in Iowa
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ocrat-drops-election-contest-in-iowa-house-race-478736.

       3 David Marchese,   Why Stacey Abrams is still saying she won, New York Times
(April 26, 2019), https://www.nytimes.com/interactive/2019/04/28/magazine/stacey-
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       4 Herb Jackson,  What happens when a state can’t decide on its electors, Roll
Call (October 26, 2020) https://www.rollcall.com/2020/10/26/we-the-people-what-hap-
pens-when-a-state-cant-decide-on-its-electors/.

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      The specific allegations of this Complaint arise mostly from tweets, state-

ments, and a rally at the Ellipse on January 6, 2021. Plaintiff selectively quotes for-

mer President Trump’s speech, intentionally omitting critical parts, including former

President Trump’s unambiguous statement to his supporters that “everyone here will

soon be marching over to the Capitol building to peacefully and patriotically make

your voices heard.”5 (emphasis added). Further, Plaintiff has failed to plausibly allege

any agreement or meeting of the mind between Defendants and anyone who partici-

pated in the January 6, 2021 riot.

                      The Allegations Against President Trump

      Representative Swalwell seeks to entangle Mr. Trump in a conspiracy by weav-

ing his own conspiracy theory based on political speech taken out of context and ac-

tions of independent individuals with whom Mr. Trump never had contact.

      The bulk of Representative Swalwell’s allegations against former President

Trump and Donald Trump, Jr. center around their promotion of and speaking at the

January 6, 2021 rally at the Ellipse and their general political speech. See Compl.

¶¶1, 2, 3 (alleging statements made at the rally), ¶¶14, 25 (alleging pre-election state-

ment of impending voter issues), ¶28-32 (alleging renewed allegations of voter fraud

beginning on election night), ¶33 (alleging first speech post-election about voting is-

sues), ¶¶35-39, ¶¶44-46, ¶49, ¶¶51-53, ¶¶56-58 (alleging various critiques of



                 Read Trump’s Jan. 6 Speech, A Key Part of Impeachment Trial,
      5 Brian Naylor,

CNN, NPR (February 10, 2021), https://www.npr.org/2021/02/10/966396848/read-
trumps-jan-6-speech-a-key-part-of-impeachment-trial.

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individual election officials), ¶86 (alleging statement for supporters to be there, it will

be wild), ¶98 (alleging tweet regarding former Vice President Pence’s authority),

¶¶122-126, ¶128, (alleging remarks by former President Trump at rally on January,

6 2021), ¶133 (alleging Trump tweeting a recording of rally on January, 6 2021 was

encouraging violence), ¶138 (alleging an unrelated tweet by former President Trump

was meant to inflame the situation at the Capitol).

       Representative Swalwell is seeking to hold former President Trump and Don-

ald Trump Jr. vicariously responsible for the unlawful acts of others, without showing

any agreement between Mr. Trump and the rioters. Indeed, Representative Swalwell

has failed to allege any direct statements by former President Trump encouraging

anyone to participate in unlawful behavior and he conveniently omitted the portion

of former-President Trump’s remarks at the Ellipse, encouraging only peaceful and

patriotic demonstration.

       While he spills much ink on the 2020 election contests (often misconstruing

and misrepresenting facts), he failed to lay any factual framework allowing the Court

to connect those contests to some fictional conspiracy between the rioters and former

President Trump. Representative Swalwell fails to provide any factual or legal sup-

port for these allegations other than the conclusory assertions of phone calls or other

activity better explained by a president’s duty to ensure the laws of the United States

are faithfully executed and a political figure’s petitioning the government for redress

of grievances.



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      Further examples of the baselessness of the Complaint can be seen regarding

Representative Swalwell’s transparent attempt to misconstrue tweets and state-

ments by substituting his own assumptions of subliminal messaging for the actual

words used by the former president. Examples of this include Representative Swal-

well’s claims that former President Trump knew of how others would react to his

statements and the actions they would take. Compl. ¶87 (alleging followers accu-

rately understood a tweet), ¶90 (alleging President Trump intended a tweet not ref-

erencing violence to be a call for violence), ¶99 (alleging a tweet was intended to con-

vince), ¶133 (alleging tweeting a video of the rally was encouraging violence).

      Representative Swalwell further attempts to connect former President Trump

to his conspiracy theory based on communications not involving Defendants. Compl.

¶¶88-89 (alleging, without making a credible allegation, the then-President of the

United States was aware of posts made on Internet listservs), ¶¶92-95 (alleging other

groups discussing action without alleging plausible facts showing that Defendants

were involved in the discussions, or even aware of them).

      Representative Swalwell then submits the statements of politicians who spec-

ulated former President Trump was involved in some conspiracy, even though those

politicians lacked any direct knowledge of any relevant facts. See Compl. ¶¶162-165

(alleging Sens. McConnell and Thune can speak to Mr. Trump’s culpability). Here,

all of Plaintiff’s allegations amount to conclusory anecdotes from others about the

culpability of President Trump, wholly unsupported by plausible facts.



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                     The Allegations Against Donald Trump, Jr.

      Representative Swalwell’s allegations against Donald Trump Jr. are even more

spurious and erratic than the allegations against former President Trump. The alle-

gations against Donald Trump Jr. boil down to two main contentions: (1) Donald

Trump, Jr. promoted the rally on January 6, 2021 and (2) Donald Trump, Jr. spoke

at the rally that allegedly incited the violence that took place at the U.S. Capitol later

that day.

      Representative Swalwell directly mentions Donald Trump Jr. in twenty-four

paragraphs of his Complaint. In these paragraphs, Representative Swalwell alleges

Donald Trump Jr. made allegations that the election was rigged; pressured elected

officials, courts, and Congress to overturn the election (Compl. ¶¶16, 68, 72); and

promoted and spoke at the rally on January 6, 2021 using emphatic language (Compl.

¶¶17, 70, 77, 116-119, 178, 211(d)). Representative Swalwell also alleges Donald

Trump, Jr. challenged Republican members of Congress and insulted Democratic

members of Congress. Compl. ¶¶73, 77. Further, on a particularly curious note, Rep-

resentative Swalwell alleges that wearing a t-shirt in an Instagram picture in 2019

while fishing is indicative of being in a conspiracy with members of that organization

almost two years later. Compl. ¶96.




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                                       ARGUMENT


   I.        The Constitution Forecloses This Court from Exercising Jurisdiction Over
             President Trump for Actions Taken During His Presidency
             a. Absolute immunity bars the claims against former President Trump.

        Courts have long recognized constitutional separation of powers requires broad

and absolute presidential immunity. Nixon v. Fitzgerald, 457 U.S. 731, 752-53 (1982).

This immunity extends to the “outer perimeter” of the President’s duties. Id. at 756;

see also Chastain v. Sundquist, 833 F.2d 311, 315 (D.C. Cir. 1987) (When defending

against common law tort suits, [presidential immunity] is absolute, . . . subject only

to the requirement that [his] actions fall within the outer perimeter of [his] official

duties.”).

        Even when a plaintiff alleges a president’s actions exceed his legal authority,

the privilege still prohibits litigation. Otherwise, the rule would be swallowed whole

by the exception; litigation would constantly test whether a particular “action was

unlawful[] or was taken for a forbidden purpose.” Nixon, 457 U.S. at 755.

        America’s executive powers are delegated to the President, U.S. Const Art. II,

§ 1, and he must be able to act decisively and fearlessly in executing those duties on

behalf of Americans without fear of civil liability. Nixon, 457 U.S. at 751-52. The vis-

ibility of his office makes him an easily identifiable target for civil suits, which would

distract from the exercise of his presidential duties. Id at 753.

        The Nixon Court may have most succinctly laid out this critical rule, but in

doing so it recognized principles as old as the Republic. Indeed, long ago Justice Story

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recognized the President “must be deemed, in civil cases at least, to possess an official

inviolability.” 3 J. Story, Commentaries on the Constitution of the United States §

1563, pp. 418-19 (1st ed. 1833). Consequently, lawsuits against presidents for their

actions while in office have been historically rare. See Nixon, 457 U.S. at 750-52, n.31

(explaining evidence that the founders assumed the President’s immunity from dam-

ages liability and that “fewer than a handful of damages actions ever were filed

against the President” prior to the early 1970s).

      The limit to a President’s absolute immunity is narrow; it is bounded

by purely personal and purely unofficial actions which are not protected. See Clinton

v. Jones, 520 U.S. 681, 696 (1997) (finding no immunity for purely private acts or acts

outside of official duties); Nixon, 457 U.S. at 756 (recognizing absolute immunity

within the “outer perimeter” of the president’s official responsibilities). Indeed, cases

where a President has been found susceptible to suit for an action taken during his

presidency are non-existent in the various circuit courts of appeals.

      Even Congress cannot abrogate this privilege since it is conferred by the Con-

stitution rather than statute. See Nixon, 457 U.S. at 763, n.7 (Burger, C.J., concur-

ring). If the coordinate branches started constricting immunity, the necessary result

would be a politically rooted rule used to bludgeon one of the political branches by

political adversaries for political purposes. Never would more be at stake than here

when the very issue is the propriety of the speech of the then-President of the United

States. Indeed, a political speech by the President is not at the “outer perimeter” of

his duties—it is at the dead center.
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      It is well recognized that rousing and controversial speeches are a key function

of the presidency. That is especially true when, as is the case here, the President is

advocating for or against congressional action. “Speech is a large part of any elected

official’s job, in addition to being the means by which the official gets elected (or re-

elected). Teddy Roosevelt called the presidency a ‘bully pulpit,’ and all public officials

urge their constituents and other public bodies to act in particular ways.” Tri-Corp

Housing Inc. v. Bauman, 826 F.3d 446, 449 (7th Cir.2016); see also, County of Santa

Clara v. Trump, 250 F. Supp. 3d 497, 539 (N.D. Cal. 2017) (recognizing “the President

certainly has the right to use the bully pulpit to encourage his policies”).

      Plaintiff has made a myriad of allegations regarding statements by former

President Trump about the veracity and integrity of the processes of elections in the

United States. He also made allegations relating to these statements that former

President Trump supposedly pressured election officials to act.

      The Constitution requires the President “preserve, protect and defend the Con-

stitution of the United States.” U.S. Const. art. II, § 1. He is also charged with taking

“Care that the Laws be faithfully executed[.]” U.S. Const. art. II, § 3.

      Representative Swalwell may not have agreed with the way former President

Trump executed his constitutional duties, but it was not for him to decide. The exec-

utive power rests with the President and him alone. U.S. Const. art. II, § 1, cl. 1..

While holding that office, former President Trump was free to advocate for the ap-

pointment and certification of electors, just as he was entitled to advocate for the

passage or defeat of a constitutional amendment, or the reconsideration of a
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congressional act over his veto even though the President does not directly participate

in those congressional acts.

      Plaintiff invites this Court to forge new territory and adopt a new rule which

would be subjective in nature and encourage political opponents to take their disputes

out of the public square and out of the halls of Congress and into the courtrooms to

punish a president for disfavored speech. The President’s absolute immunity fore-

closes the jurisdiction of this Court.6

          b. The political question doctrine also bars the claims against President
             Trump.

      Closely akin to absolute immunity is the political question doctrine. “The po-

litical question doctrine excludes from judicial review those controversies which re-

volve around policy choices and value determinations constitutionally committed for

resolution to the halls of Congress or the confines of the Executive Branch.” Japan

Whaling Ass’n. v. Am. Cetacean Soc., 478 U.S. 221, 230 (1986). There are several

instances when the doctrine makes a case nonjusticiable, including when there is a

“textually demonstrable constitutional commitment of the issue to a coordinate




      6 Even if former President Trump is not covered by absolute immunity, as a

governmental actor, the claims against him are also foreclosed by immunity under
the Westfall Act 28 U.S.C. § 2679(b). The allegations arose out of his allegations of
political speech, clearly within the scope of his employment (i.e., ensuring the faithful
execution of the laws and carrying out his other Constitutional duties). Moreover,
even if those doctrines did not apply, he would be protected by qualified immunity,
as no Court has previously held a President liable for political speech. See Jones v.
Kirchner, 835 F.3d 74, 84 (D.C. Cir. 2016). These immunities, of course, are narrower
than the dispositive absolute immunity arising directly from the Constitution.

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political department” and when it is impossible to decide an issue without making

“an initial policy determination of a kind clearly for nonjudicial discretion.” Bancoult

v. McNamara, 455 F.3d 427, 432 (D.C. Cir. 2006) (citing Baker v. Carr, 369 U.S. 186,

217 (1962)).

      Here, Plaintiff seeks a declaration and an injunction against Mr. Trump based

on actions taken while he was President of the United States. Compl. at 63-64. Aside

from the obvious problems with this prior restraint against speech, the adjudication

of any injunction or declaration based upon the words or action of the then-President

would improperly regulate the executive department, in violation of Article II, § 1,

which requires the executive power be exercised solely by the President.

      Moreover, the adjudication of all the allegations against former President

Trump would require the Court to make a value determination about what is or is

not proper for the President to say at a political speech when advocating for govern-

mental action. As previously discussed, such value determinations are not of the type

appropriate for the judiciary. Instead, such questions are solely left to the discretion

of the political branches. Representative Swalwell and his collaborators had a full

and fair opportunity to make their case at impeachment. They failed.

          c. The claims against President Trump are precluded by the Impeachment
             Judgment Clause, res judicata, and collateral estoppel.

      The United States Senate held a trial, pursuant to their constitutional man-

date to try impeachment cases, and acquitted former President Trump of allegations

that he participated in a riot at the U.S. Capitol on January 6, 2021. 167 Cong. Rec.

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S. 717, 1 (2021). On January 11, 2021, Democratic leadership brought Articles of Im-

peachment, which on January 13, 2021, were approved by the House of Representa-

tives. On February 9, 2021, the Senate took up the trial. 167 Cong. Rec. S. 589, 1

(2021). The Senate trial lasted four days on the charge of “Incitement of Insurrec-

tion.” On February 13, 2021, the Members of Congress by the rules established under

the Constitution of the United States did not convict Mr. Trump of these charges. 167

Cong. Rec. S. 717, 17 (2021).

      The Constitution provides that after impeachment proceedings a “party con-

victed shall nevertheless be liable and subject to Indictment, Trial, Judgment and

Punishment, according to Law.” U.S. Const. art. I, § 3, cl. 7 (emphasis added). Because

the founders specifically limited this exception to those convicted of impeachment, it

necessarily forbids further litigation of the same claims by those acquitted by the

Senate, pursuant to the well-known statutory construction canon, of expression unius

est exclusion alterius. United States v. Wells Fargo Bank, 485 U.S. 351, 357 (1988).

      The clause creates an exception to the general rule prohibiting multifarious

litigation over the same subject matter arising from the same transaction or occur-

rence. See Whether a Former President May be Indicted and Tried for the Same Of-

fense for Which He was Impeached by the House and Quitted by the Senate, 24




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Opinions of the Office of Legal Counsel 110, 113 (2000) (specifically discussing crim-

inal liability).7

       This action is also precluded by collateral estoppel and res judicata. Repre-

sentative Swalwell, a member of Congress and the manager of that impeachment

trial, is now seeking to have this Court intervene and relitigate a matter already

properly litigated before the United States Senate as an impeachment court.

       Res judicata precludes further claims by the same parties or their privies after

a final judgment on the merits. Montana v. United States, 440 U.S. 147, 153

(1979). This not only bars identical claims from being re-litigated in subsequent pro-

ceedings but also claims arising from the same transaction or occurrence. See Page

v. United States, 729 F.2d 818, 820 (D.C. Cir. 1984). Likewise, collateral estoppel (i.e.,

issue preclusion) applies when a factual or legal issue is litigated and determined by

a valid final judgment. Menkes v. U.S. Dept. of Homeland Sec., 637 F.3d 319, 334

(D.C. Cir. 2011) (citing Restatement (Second) of Judgments § 27 (1982)). Even if Mr.

Swalwell is not a privy of the House of Representatives, collateral estoppel applies

because “issue preclusion does not require mutuality of parties.” Id. (citing Gov’t of

Rwanda v. Johnson, 409 F.3d 368, 374 (D.C. Cir. 2005).



       7 The memorandum exclusively discusses the     criminal liability of an acquitted
president rather than civil liability, ultimately concluding it is a close call but such
liability is not precluded by the impeachment trial. There is little to no scholarship
on the issue of civil liability, probably because lawsuits like this are not reasonably
foreseeable because of the robust absolute immunity of the President previously dis-
cussed.

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         A trial already occurred on Representative Swalwell’s allegations. The Senate

acquitted former President Trump. Undoubtedly, Plaintiff was disappointed with

that result, but it does not give him a second bite at the apple to relitigate the issues

here. These claims are precluded.

   II.      Plaintiff Lacks Standing to Bring His Claims Against Any Defendant

Standing is a threshold issue to the initiation and continuation of litigation. Raytheon

Co. v. Ashborn Agencies, Ltd., 372 F.3d 451, 453 (D.C. Cir. 2004) (citing Steel Co. v.

Citizens for a Better Environment, 523 U.S. 83, 96-102 (1998)). To establish standing,

a plaintiff must demonstrate three things: (1) an injury in fact that is concrete and

particularized, (2) a causal connection between the injury suffered and the conduct of

the defendant complained of, and (3) the remedy asked for is likely to redress that

grievance. See Tafuto v. Donald J. Trump for President, Inc., 827 F. App’x. 112, 114

(2d Cir. 2020) (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61

(1992)). When a Defendant moves to dismiss a claim for lack of subject matter juris-

diction, the burden is on the Plaintiff to establish standing. Summers v. Earth Island

Inst., 555 U.S. 488, 493 (2009).

            a. Plaintiff has not alleged a particularized injury causally connected to
               either Trump Defendant.

         In Lujan, the Supreme Court elaborated upon the second element of standing

requiring a plaintiff establish a causal connection between the injury suffered and

the actions of the defendant. The Court determined the injury must be

“fairly . . . trace[able] to the challenged action of the defendant, and not . . . th[e]

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result [of] the independent action of some third party not before the court.” Lujan,

504 U.S. at 560 (quoting Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26 (1976)).

       Here, the Plaintiff failed to allege any concrete injury caused by Defendants.

Instead, he has made conclusory allegations of unknown emotional harm. Mr. Swal-

well’s emotional health may very well be in tatters; however, Defendants did not

cause that harm, rather it was the independent and intervening acts of third-party

rioters.8

       Representative Swalwell makes conclusory allegations of vague psychological

injuries connected to Capitol rioters, not the Defendants. Indeed, neither in his ver-

bose preliminary allegations nor in any specific count does he sufficiently explain how

his emotional infirmities are connected to Defendants.

       In Count 1, Representative Swalwell alleges he is “a party so injured” (meaning

that he alleges he is someone injured by preventing an official from doing their job or

taking an office). Compl. ¶184. In Count 3, Representative Swalwell claims “[a]s de-

scribed, the Plaintiff was harmed by the rioting mob the Defendants incited” (with no

description). Compl. ¶199. In Count 6, Representative Swalwell makes the ground-

less assertion that “Plaintiff suffered severe emotional distress” without explaining


       8 It is also probably that his emotional harm arises not from anything that

happened on January 6, 2020, but rather from getting caught in a honeytrap by a spy
for the Chinese Communist Party. See Bethany Allen-Ebrahimian, Exclusive: Sus-
pected Chinese Spy Targeted California Politicians, Axios (December 8, 2020),
https://www.axios.com/china-spy-california-politicians-9d2dfb99-f839-4e00-8bd8-
59dec0daf589.html?utm_source=twitter&utm_medium=social&utm_campaign=or-
ganic&utm_content=1100. Perhaps instead of blaming his emotional injuries on De-
fendants, Mr. Swalwell should look to his own poor decisions.
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how that distress manifested itself. Compl. ¶ 226. In Count 7, Representative Swal-

well claims, “[a]s described earlier in the Complaint, the Defendants’ actions caused

the Plaintiff to suffer severe emotional distress.” Compl. ¶234. In Count 8, Repre-

sentative Swalwell makes several broad claims of harm including: Plaintiff was in

fact harmed (Compl. ¶245), Plaintiff feared imminent harm (Id. at ¶244), the mob

terrorized and injured scores of people including Plaintiff (Id. at ¶242). Finally, in

Count 9, Representative Swalwell alleges his harm was reasonably foreseeable, he

suffered harm, and it was described previously in the Complaint. Compl. ¶¶ 258-59.

At no point does he explain how the riot affected or damaged him. Moreover, he fails

to lay a proper causal connection to the allegations against Defendants. Sure, he ex-

plains his displeasure with tweets, statements, and speeches but he has not con-

nected those utterances with the specific act of any individual who caused him harm.

         b. Members of Congress lack standing to sue under Section 1985(1).

      Representative Swalwell alleges Defendants in this case interfered with

the performance of his official duties as a member of Congress, as well as the duties

of his fellow Representatives and Senators. Compl. ¶169. He also alleges the intent

was to injure the property and persons of the members of Congress.9 Id. at ¶¶171-72.

Representative   Swalwell    further   alleges    this was   done   as   part   of   the




      9 In the Complaint, Plaintiff often complains of alleged harm to others, includ-

ing Mr. Swalwell’s Democratic colleagues in the House and Senate. This surplusage
confuses his already weak attempt at pleading standing. Of course, at the most, Plain-
tiff would have standing to sue on his own behalf, not his colleagues’ behalf.

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larger scheme to prevent Joseph Biden and Kamala Harris from being certified by

Congress. Id. at ¶¶12, 168.

       Plaintiff relies upon 42 U.S.C. § 1985(1) which provides:

              If two or more persons in any State or Territory conspire to
              prevent, by force, intimidation, or threat, any person from
              accepting or holding any office, trust, or place of confidence
              under the United States, or from discharging any duties
              thereof; or to induce by like means any officer of the United
              States to leave any State, district, or place, where his du-
              ties as an officer are required to be performed, or to injure
              him in his person or property on account of his lawful dis-
              charge of the duties of his office, or while engaged in the
              lawful discharge thereof, or to injure his property so as to
              molest, interrupt, hinder, or impede him in the discharge
              of his official duties.

42 U.S.C. § 1985(1). A claim under § 1985(1) is only available to specific federal offi-

cials. See Canlis v. San Joaquin Sheriff’s Posse Comitatus, 641 F.2d 711, 718 (9th

Cir. 1981) (explaining that § 1985(1) is only applicable to federal officers). Specifically,

standing is conveyed only on officers of the United States and those holding an office,

trust, or place of confidence under the United States. Members of the U.S. House of

Representatives are not covered by any of these categories. Consequently, Mr. Swal-

well lacks standing to bring this lawsuit.10




       10 Since a § 1986 claim is derivative of a § 1985 claim, Mr. Swalwell’s lack of

standing applies to both statutes.

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             1.   Members of Congress are not officers under the United States, nor
                  do they hold office under the United States.

       Members of Congress, including both Senators and Representatives, are

not “officers” of the United States, nor do they hold an “office under the United

States.” Specifically, “unless a person in the service of the government, therefore,

holds his place by virtue of an appointment by the president, or of one of the courts

of justice or heads of departments authorized by law to make such an appointment,

he is not, strictly speaking, an officer of the United States.” United States v. Mouat,

124 U.S. 303, 307 (1888). Additionally, as the Supreme Court explained in 2010, “[t]he

people do not vote for the ‘Officers of the United States.’ U.S. Const. art. II, § 2, cl. 2.

They instead look to the President to guide the ‘assistants or deputies . . . subject to

his superintendence.”’ Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561

U.S. 477, 498 (2010) (quoting The Federalist No. 72, p. 487 (J. Cooke ed. 1961) (A.

Hamilton)). Furthermore, the Appointments Clause makes it clear the President ap-

points the Officers of the United States. See U.S. Const. art. II, § 2, cl 2.

       The Constitution provides members of Congress are not office holders “under .

. . the United States.” The Ineligibility Clause specifically states, “no person holding

any Office under the United States, shall be a member of either House during

his Continuance in Office.” U.S. Const. art. I, § 6, cl 2. Ergo, a member of Congress is

not in an office under the United States, otherwise the Constitution would state they

could not hold more than one such office. In defining an office of the United States,

the United States Court of Claims defined it as a “public station or employment

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established or authorized by Congress and conferred by appointment of the Govern-

ment.” Dalton v. U.S., 71 Ct. Cl. 421, 425 (1931).

            2.    Members of Congress do not hold a position of trust or place of con-
                  fidence with the United States as delineated in § 1985(1).

       Section 1985(1) also gives standing to individuals who hold a position of trust

or a place of confidence under the United States. Again, members of Congress fall

into neither category. The Constitution specifically delineates between senators, rep-

resentatives, and those holding an office of trust or profit under the United States,

when it prohibits any of the above from serving as electors. U.S. Const. art. II, § 1. In

common law, an office of trust or profit referred exclusively to those in the employ in

the executive, judiciary, or the church. Benjamin Cassady, “You've Got Your Crook,

I've Got Mine”: Why the Disqualification Clause Doesn’t (Always) Disqualify, 32

Quinnipiac L. Rev. 209, 279 (2014). English statutes apply the term to offices con-

ferred by the Crown, not by Parliament. Id. (citing Test Act of 1673, 25 Car. II, c. 2

(U.K.)).

       There are few examples of those who hold a place of confidence under the

United States. A district court has applied that term to state court judges since they

decide federal constitutional issues and are bound by federal law. See Lewis v. News-

Press & Gazette Co., 782 F. Supp. 1338, 1342 (W.D. Mo. 1992). Other authority sug-

gests all the categories listed in Section 1 are limited to those who carry out and apply

the law. See Stern v. U.S. Gypsum, Inc., 547 F.2d 1329, 1337 (7th Cir. 1977) (explain-

ing the statutory history of § 1985(1) and concluding the purpose of the legislation

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was to protect the “federal interest in the carrying out of federal functions.”). One

thing is clear, the Congress that adopted the statute could very well have specifically

made it applicable to themselves and their successors. They declined to do so. Mr.

Swalwell is not of a class of individuals who has standing to bring a claim under §

1985(1). Further, because his § 1986 claim is derivative, he lacks standing to bring

either of his federal claims.

   III.   Well Established First Amendment Law Bars Every Claim Made by Repre-
          sentative Swalwell, Showing his Real Endgame is to use this Litigation to
          Score Political Points.

      The factual allegations Representative Swalwell has raised against former

President Trump and his son Donald Trump, Jr. involve conduct fully protected by

the First Amendment of the United States Constitution. The First Amendment pro-

vides “Congress shall make no law . . . abridging the freedom of speech . . . or the

right of the people to peaceably assemble, and to petition the Government for redress

of grievances.”

      The hallmark of the protection of free speech is to allow “free trade in ideas”—

even, arguably especially, ideas a majority of people might find distasteful or discom-

forting. Virginia v. Black, 538 U.S. 343, 358 (2003). Thus, the First Amendment “or-

dinarily” denies “the power to prohibit dissemination of social, economic and political

doctrine” even when politically unpopular. Id. The First Amendment generally pre-

vents government from proscribing speech, or even expressive conduct, because of

disapproval of the ideas expressed. See R.A.V. v. City of St. Paul, Minn., 505 U.S. 377,

382 (1992). Content-based regulations are presumptively invalid. Id.
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      Plaintiff is an attorney and a member of Congress, sworn to support and defend

the Constitution. He knows the First Amendment decisively bars his claims and the

political speech of which he complains is at the dead center of the constitutional pro-

tections of speech. See Mills v. Alabama, 384 U.S. 214, 218 (1976 (“[T]here is practi-

cally universal agreement that a major purpose of the [First Amendment] was to pro-

tect the free discussion of governmental affairs.”). Indeed, “political speech is entitled

to the fullest possible measure of constitutional protection.” Members of City Council

of City of Los Angeles v. Taxpayers for Vincent, 466 U.S. 789, 816 (1984).

      “[S]peech on ‘matters of public concern’ . . . is ‘at the heart of the First Amend-

ment’s protection.’” Snyder v. Phelps, 562 U.S. 443, 451–52 (2011) (quoting Dun &

Bradstreet, Inc. v. Greenmoss Builders, Inc., 472 U.S. 749, 758–759 (1985)). The First

Amendment reflects “a profound national commitment to the principle that debate

on public issues should be uninhibited, robust, and wide-open.” Snyder, 562 U.S. at

452. That is because “speech concerning public affairs is more than self-expression; it

is the essence of self-government.” Id. Accordingly, “speech on public issues occupies

the highest rung of the hierarchy of First Amendment values and is entitled to special

protection.” Id.

      The First Amendment protects Defendants’ rights to speech, expression, as-

sembly, and to petition for redress of grievances. Limitations to these rights are nar-

row. Black, 538 U.S. at 366 (holding speech and expression in the political context is

deserving of expanded constitutional protections) (citing R.A.V. v. St. Paul, 505 U.S.

377, 402 n.4).
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            a. The incitement and “true threats” standards protect the speech at issue
               in this case.11

         Representative Swalwell seeks to weaken important protections found

in Brandenburg v. Ohio when he argues the alleged statements at issue somehow

incited violence and therefore are outside the protection of the First Amendment. 395

U.S. 444 (1969). Speech only loses its First Amendment protection when there is an

incitement to imminent lawless action, rather than mere advocacy. Brandenburg, 395

U.S. at 449.

         Similarly, speech can be stymied when it announces a “true threat,” meaning

the speech contains a serious expression of an intent to commit an unlawful act of

violence to a particular individual or group of individuals.” Black, 538 U.S. at 359.

Such speech must convey a gravity of purpose and likelihood of execution to constitute

speech beyond the pale of protected vehement, caustic, unpleasantly sharp attacks

on government and public officials. U.S. v. Crews, 781 F.2d 826, 832 (10th Cir. 1986).

         Given that Donald J. Trump was the President of the United States, it is dif-

ficultto imagine speech cloaked with more constitutional protection than the alleged

expressive conduct—tweets, press conferences, speeches, and meetings with govern-

ment officials—Plaintiff seems to assert violates §§ 1985(1) and 1986, as well as forms

the basis for state charges of inciting violence, assault, disorderly conduct, and inten-

tional        and      negligence       infliction     of      emotional        distress.


         11 Likewise, these same doctrines apply to and defeat the Washington D.C.

torts pled by Plaintiff under supplemental jurisdiction.

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Turning district courts into the arbiters of campaign speech would be a particularly

troubling precedent.

      Moreover, to hold that Mr. Trump’s statements would make him civilly lia-

ble would turn district courts into arbiters of political speech. By Plaintiff’s logic,

Congresswoman Maxine Waters was far more culpable for inciting violence when she

encouraged people to harass Trump Administration appointees,1 and when she re-

cently encouraged rioters to “get more confrontational” if her favored verdict was not

returned in the State v. Chauvin case in Minnesota.2 While Americans may disagree

with the tone and language used by their political adversaries, turning courts loose

to police that speech is forbidden by the First Amendment, except in the most severe

circumstances.

          b. Plaintiff’s reading of the federal statutes is so broad and vague as to
             make them susceptible to a facial challenge.

      Plaintiff suggests that this Court read § 1985(1) so broad as to allow it to de-

clare tweets, statements, and speeches made by politicians can be overt acts in an

unlawful conspiracy. More troubling, he suggests that § 1986 legally requires politi-

cians to alter their speech should they discover that listeners might engage in their

own unlawful conspiracy. If he is right (he is not), and the statutes are that broad

and vague (they are not), then it would make these important statutes susceptible to

facial challenges due to overbreadth and vagueness.

      The overbreadth doctrine allows facial challenges to boundless statutes to pre-

vent the chilling of First Amendment speech. See Secretary of State of Md. v. Joseph

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H. Munson Co., Inc., 467 U.S. 947, 958 (1984). The void for vagueness doctrine en-

sures citizens are on notice of what a statute proscribes and also guards against ar-

bitrary or discriminatory enforcement. See Sessions v. Dimaya, 138 S. Ct. 1204, 1212

(2018).

      Should Plaintiff’s construction of §§ 1985-86 be adopted, it would lead to a

boundless statute essentially holding politicians vicariously liable for the actions of

their supporters, substantially chilling important political speech. Moreover, the

broad and vague prescriptions of the statute would encourage selective enforcement,

inevitably based upon the political affiliations of the enforcer. Simply put, Mr. Swal-

well’s proposed interpretation of the statutes provides no way to draw clear lines,

requiring they be stuck down as facially invalid.

      But these historic statutes need not be endangered. Using the constitutional

avoidance canon, the Court should recognize § 1985 only regulates conspiracies where

there is an agreement to perform an overt act extending beyond protected political

speech. See McFadden v. U.S., 576 U.S. 186, 196 (2015) (requiring avoidance be used

only when courts must choose between competing plausible interpretations). Such a

construction would also save § 1986, because actions under that statue are dependent

on an enforceable § 1985 conspiracy.

          c. The Trump Defendants had a First Amendment right to petition the
             government for redress of grievances.

      In addition to their rights to free speech and assembly, Defendants have a First

Amendment right to petition the government for redress of grievances. When the

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petition involves matter of public concern, the effort to legally influence lawmakers

and government officials enjoys an even higher presumption of protection; our repub-

lic depends upon the “free and unhindered debate on matters of public importance.”

Pickering v. Board of Education, 391 U.S. 563, 573 (1968).

       To make it more likely one’s concerns receive consideration and a response, the

people can peaceably assemble to make their voices louder when seeking redress. See

United States v. Cruikshank, 92 U.S. 542, 552 (1875) (“The right of the people peace-

ably to assemble for the purpose of petitioning Congress for a redress of griev-

ances . . . is an attribute of national citizenship, and, as such, under the protection of,

and guaranteed by, the United States”). The First Amendment is meant to protect

the “unfettered interchange of ideas for bringing about the political and social

changes desired by the people.” Dun & Bradstreet, Inc. v. Greenmoss Builders, Inc.,

472 U.S. 749, 759 (1985). “[T]he Court has frequently reaffirmed that speech on public

issues occupies the ‘highest rung of the hierarchy of First Amendment values,’ and is

entitled to special protection.” Id. (citing NAACP v. Claiborne Hardware Co., 458 U.S.

886, 913 (1982)).

       But just because the right to petition for a redress of grievances is important,

that does not mean it is necessarily comfortable:

              [E]xercise of the right to petition ‘may well include vehe-
              ment, caustic, and sometimes unpleasantly sharp attacks
              on government and public official. . . .’ The First Amend-
              ment requires that we extend substantial ‘breathing space’
              to such expression, because a rule imposing liability when-
              ever a statement was accidently or negligently incorrect

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             would intolerably chill ‘would–be critics of official con-
             duct . . . from voicing their criticism.’

McDonald v. Smith, 472 U.S. 479, 480 (1985).

      Elections are often hotly contested, and they are certainly a matter of public

concern. As Congress is given the duty of deciding whether to certify the votes of

electors, Defendants had a right to advocate for their preferred outcome. constitution-

ally protected

          d. Prior restraints against speech are presumptively unconstitutional.

      In addition to seeking monetary damages for his alleged emotional distress,

Plaintiff seeks an injunction, requiring Defendants to give Swalwell seven days’ no-

tice of rallies or events so he may determine whether he wants to seek court inter-

vention in stopping the event. Compl. at 63-64 (Prayer for Relief). He also seeks pro-

spective relief by way of a declaration. Id. These are textbook examples of a prior

restraint against speech.

      Any prior restraint bares a heavy presumption against constitutional validity.

New York Times Co. v. U.S., 403 U.S. 713 (1971). A prior restraint is an administra-

tive or judicial order, such as an injunction, restraining specific communications

when issued in advance of when the communication is to occur. See Alexander v. U.S.,

509 U.S. 544, 549 (1993).

      Plaintiff comes to the Court seeking advance notice of his adversaries’ political

rallies and events, so he can attempt to persuade the judiciary to intervene. This




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remarkable request is unique and unprecedented because it flies in the face of critical

First Amendment protections. It must be dismissed out of hand.

   IV.      Plaintiff Failed to Plausibly Plead Any of His Nine Counts.

         Plaintiff is charged with pleading his Complaint, so it plausibly lays out a le-

gally recognized case against Defendants. Bell Atl. Corp. v. Twombly, 550 U.S. 544,

545 (2007). While he need not include “detailed factual allegations,” he must do more

than state an unadorned “the-defendant-unlawfully-harmed-me” accusation. Ash-

croft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 555). A pleading

offering “labels and conclusions” or “a formulaic recitation of the elements of a cause

of action will not do.” Iqbal, 556 U.S. at 678; Twombly, 550 U.S. at 555. Nor does a

complaint suffice if it tenders “naked assertion[s]” devoid of “further factual enhance-

ment.” Iqbal, 556 U.S. at 678; Twombly, 550 U.S. at 557. Moreover, Plaintiff’s con-

spiracy allegations must be pled with particularity. See Gometz v. Culwell, 850 F.2d

461, 464 (7th Cir. 1988); McCord v. Bailey, 636 F.2d 606 (D.C. Cir. 1980).

         A claim has facial plausibility when the plaintiff pleads factual content allow-

ing the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged. Id. This standard requires more than a sheer possibility that a

defendant has acted unlawfully. Id. Where a complaint pleads facts “merely con-

sistent with” a defendant’s liability, it “stops short of the line between possibility and

plausibility of ‘entitlement to relief.’” Id. (quoting Twombly, 550 U.S. at 557). Alt-

hough for the purposes of a motion to dismiss the court must take the factual allega-

tions in the complaint as true, the court is not bound to accept as true a legal
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conclusion couched as a factual allegation. Iqbal, 556 U.S. at 679. Moreover, the Court

can take judicial notice of facts extrinsic to the Complaint if they are not reasonably

subject to the dispute. Hurd v. District of Columbia, 864 F.3d 671, 686 (D.C. Cir.

2017). Because Plaintiff is a public official and because the facts underlying the alle-

gations in the Complaint are of public concern, Plaintiff must plausibly plead Defend-

ants acted with actual malice. See Tah v. Glob. Witness Publ’g, Inc., 991 F.3d 231,

240 (D.C. Cir. 2021). Yet, none of his allegations rise to the level of actual malice.


          a. Plaintiff’s § 1985(1) claim is implausible and hopelessly flawed.

      To succeed in a claim under § 1985(1), Plaintiff must plausibly plead (1) a con-

spiracy (2) to prevent by force, intimidation, or threat, (3) a covered federal official,12

(4) either from discharging official duties, by inducing the official to leave post, or by

injuring the official on account of the lawful discharge of duties. 42 U.S.C. § 1985(1).

      Representative Swalwell failed to plead with particularity (or even plausibly)

any agreement13 to obstruct Congress from conducting its business. It is insufficient

to allege Defendants made political statements by social media and at a rally meant

to persuade political officials. Instead, he was required to plausibly plead an




      12 As previously explained,   infra, Plaintiff has failed to allege that as a member
of Congress, he is a covered official pursuant to Section 1985(1).

      13 Representative Swalwell also claims he is entitled to recover under an aiding

and abetting theory pursuant to D.C. Code § 22-1805. However, just as he has failed
to properly allege a conspiracy; he has also failed to allege Defendants aided and
abetted any rioters.

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agreement intended to obstruct the business of Congress in certifying the votes of

electors. Such a conspiracy would need to include Defendants and specific individuals

who rioted at the Capitol. Plaintiff has not and cannot make such an allegation.

      An agreement to make statements to persuade politicians to act is insufficient.

If the law stated otherwise, every lobbyist, whip, and advocacy organization would

constantly be sued for violating the statute. Instead, the agreement must be to affect

an official function by “force, intimidation, or threat.” Plaintiff can point to no such

agreement.

      Instead, Mr. Swalwell advances unfounded claims regarding Mr. Trump’s po-

litical activity, including his speeches, debate performance, and tweets. He asks this

Court to read into Mr. Trump’s political speech and find he thereby entered into a

conspiracy to interfere with the performance of official actions. Such action by this

Court or any other would have the effect of drastically chilling political speech and

cluttering the dockets of district courts nationwide with political lawsuits seeking to

damage political adversaries.

      Not only is this theory far-fetched, but it is also in direct opposition to many of

the statements made by Mr. Trump at the rally in question. For example, Mr. Trump

stated in his speech at the rally in the District of Columbia on January 6, 2021, “eve-

ryone here will soon be marching over to the Capitol building to peacefully and




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patriotically make your voices heard.”14 (emphasis added). Mr. Trump further im-

plored the crowd, “[w]e’re going to walk down to the Capitol, and we’re going to cheer

on our brave Senators, and Congressmen and women.”15 These are not the words of

incitement, but the words of a person seeking political support for their cause and

entreating their supporters to compel other politicians to hear their voices.

      It is not enough that an allegation be consistent with conspiracy if it is “just as

much in line with a wide swath” of legitimate activities. Twombly, 550 U.S. at 554.

In Twombly, the Court noted, while the allegations there were consistent with an

illegal conspiracy, they were also consistent with legal actions based on unchoreo-

graphed free-market behavior. Here, the out-of-context snippets from speeches, de-

bates, and tweets cited by Plaintiff support nothing more than a political speech

aimed at affecting Congressional action by appealing political supporters.

            b. Likewise, Plaintiff has not and cannot state a claim under § 1986.

      A § 1986 claim is derivative of § 1985 liability. See Rogers v. Lincoln Towing

Service, Inc., 771 F.2d 194 (1985). Liability under the statute is dependent on a show-

ing a defendant had actual knowledge of a § 1985 conspiracy, had the ability to stop

the conspiracy, and negligently refused or failed to do so. See Brandon v. Lotter, 157

F.3d 537, 539 (8th Cir. 1998).


      14 Brian Naylor,    Read Trump’s Jan. 6 Speech, A Key Part of Impeachment
Trial, CNN (February 10, 2021), https://www.npr.org/2021/02/10/966396848/read-
trumps-jan-6-speech-a-key-part-of-impeachment-trial.

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           Id.

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      Representative Swalwell has broadly alleged former President Trump and

Donald Trump, Jr. were aware of the potential actions of their supporters. That, how-

ever, is not enough to contrive a claim under this section. There is not a single factual

allegation in the Complaint that Mr. Trump and Donald Trump, Jr. were aware of

any actual plans to riot at the U.S. Capitol.

      Representative Swalwell broadly alleges there were Trump supporters dis-

cussing their interpretations of Mr. Trump’s tweets and plans to act. The Complaint

fails to allege Mr. Trump or Donald Trump, Jr. were aware of the specific websites

alleged in his Complaint, with anything more than broad conclusions. It is implausi-

ble to suggest Defendants had actual knowledge of statements made on the deep cor-

ners of the Internet. Plaintiff’s failure to plead Defendants had actual, or even con-

structive notice of any specific conspiracy is fatal to his § 1985(1) claim, requiring its

dismissal.

          c. Plaintiff also insufficiently plead his D.C. law claims, over which the
             Court should decline to exercise supplemental jurisdiction.

      Initially, the Court should exercise its discretion and decline to exercise sup-

plemental jurisdiction over the claims brought under D.C. law, because of the infir-

mity of the federal claims. Carlsbad Tech., Inc. v. HIF Bio, Inc., 556 U.S. 635, 639–40

(2009). Nevertheless, he has failed to state a claim for each of those counts as well.

      In addition to the Twombly standard, the D.C. law substantive claims should

be viewed through the lens of the policy of Washington, D.C. and its stout Anti-

SLAPP statute. D.C. Code Ann. § 16-5501, et seq.. While the special motion to dismiss

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delineated in that statute is inapplicable in federal court, the statute is still important

as it clearly lays out D.C.’s strong preference that laws not be used to discourage the

“right of advocacy.” This policy weighs heavily in favor of dismissal.

             1.   Negligence law is inapplicable to this political dispute.

       The negligence standard in D.C. is familiar and well-established: no defendant

is liable for negligence unless that defendant specifically owes the plaintiff some duty

of care as a matter of law. See Haynesworth v. D.H. Stevens Co., 645 A.2d 1095, 1098

(D.C. 1994) (citing Palsgraf v. Long Island R.R. Co., 248 N.Y. 339 (1928); Presley v.

Commercial Moving & Rigging, Inc., 25 A.3d 873, 888 (D.C. 2011). Once such a legal

duty is established, the plaintiff must also show a deviation from that duty, and a

causal relationship between that deviation and the harm suffered by the plaintiff.

See Youseff v. 3636 Corp., 777 A.2d 787, 792 (D.C. 2001). Here, Mr. Swalwell can

plead none of those elements, further dooming his negligence claims.

       Representative Swalwell claims former President Trump and Donald Trump,

Jr. are liable under this cause of action for two reasons: (1) allegations of voter fraud

in the weeks before the January 6, 2021 rally and (2) the words of Mr. Trump and

Donald Trump Jr. on January 6, 2021. Representative Swalwell’s claim is woefully

insufficient, even at the pleading stage. Even though he presents some excerpts of

the speeches presented on January 6, 2021, Representative Swalwell largely omits

language unambiguously contradicting any premise that Defendants sought any-

thing other than peaceful protests. Nevertheless, the statements he does allege are

still insufficient to show negligence.
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             A. Speakers at political rallies do not owe a duty of care to members of
                Congress.

      By bringing his negligence claims, Plaintiff advocates for another boundless

rule with severe ramifications. Since the dawn of the Republic and before, politicians

have expressed their passions in political speeches. The important First Amendment

protections for those speeches have already been discussed in detail. But claiming

political speech can give rise to negligence liability is also troubling.

      In essence, Mr. Swalwell argues that speakers should be vicariously liable for

the acts of the listeners. Indeed, he might wonder if he would be liable because of his

and his Democratic colleagues’ rhetoric which encouraged left-wing activist James

Hodgkinson to shoot Capitol Police Officer Crystal Griner, Congressman Steve Scal-

ise, and others in June 2017. Perhaps Senator Rand Paul might also have a cause of

action due to the violent attack he suffered at the hands of his fanatical neighbor.

      Of course, if similar lawsuits were brought based upon those incidents against

Mr. Swalwell and his colleagues, they would inevitably be making the same argu-

ments, and rightfully so. As a matter of law, political speakers do not owe a legally

enforceable duty of care to their adversaries or others who might find themselves in

the path of impassioned supporters. Like the infamous firework that harmed Ms.

Palsgraf almost a century ago, the harm is simply too remote and unforeseeable to

give rise to a duty of care. See, e.g., Palsgraf, 248 N.Y. at 341, 354.339. Whether po-

litical speech is negligent is a question for voters, not courts.




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             B. Mr. Swalwell cannot plead any deviation from any duty of care or a
                causal link to his emotional infirmities.

      Plaintiff cannot escape, even at the pleading stage, that the Trump Defendants

acted responsibly. As previously discussed, former President Trump simply called for

peaceful and patriotic demonstrations. Should his statements be held negligent, then

district courts will be very busy weighing the legal reasonableness of statements from

thousands of politicians. Aside from the obvious First Amendment pitfalls, such a

rule would put the judiciary in an untenable position.

      Finally, just as he lacks standing, Mr. Swalwell failed to properly allege a

causal connection between acts of any Defendant and his own psychological and emo-

tional infirmities. Mr. Swalwell has failed to plausibly plead any of the elements of

negligence; as with the others, those counts also fail.

             2.   Representative Swalwell’s failure to allege an injury to his person
                  or property defeats his bias claims.

      Representative Swalwell’s statutory tort claim for bias pursuant to D.C. Code

§ 22-3704 and pled in Count 5 of the Complaint fails for all the reasons discussed

elsewhere, especially since, incredibly, he alleges the use of political language he finds

offensive gives rise not only to a cause of action but an actual crime. According to

Representative Swalwell calling someone a radical left Democrat, weak Republican,

or an assortment of other phrases will get you arrested or sued in Washington, D.C.

Compl. ¶¶211-212. Hogwash.

      This claim fails for an independent reason, however. It requires that Repre-

sentative Swalwell plead an actual injury suffered to his person or property. D.C.
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Code § 22-3704. This section does not provide for the recovery for psychological or

emotional harm. Mr. Swalwell failed to allege any actual harm to his person or prop-

erty, which alone is fatal to his bias claim.

             3.   Representative Swalwell’s Complaint does not meet the high burden
                  of pleading intentional infliction of emotional distress.

      To state a claim for intentional infliction of emotional distress Plaintiff must

possibly plead facts showing “(1) extreme and outrageous conduct on the part of the

defendant[], which (2) intentionally or recklessly (3) causes the plaintiff severe emo-

tional distress.” Competitive Enterprise Institute v. Mann, 150 A.3d 1213, 1260 (D.C.

2016). “The standard for ‘extreme and outrageous conduct’ is exceptionally demand-

ing. ‘Conduct is considered “extreme and outrageous” when it is “so outrageous in

character and so extreme in degree, as to go beyond all possible bounds of decency,

and to be regarded as atrocious, and utterly intolerable in a civilized community.”’”

Bonner v. S-FER International, Inc., 207 F. Supp. 3d 19, 25 (D.D.C. 2016). Insults,

threats, and indignities are insufficient for meeting this rigorous standard. Id. The

harm suffered by a plaintiff must include severe emotional distress, “of so acute a

nature that harmful physical consequences are likely to result.” Competitive Enter-

prise Institute, 150 A.3d at 1261.

      Plaintiff has not and cannot meet this high standard. As an initial matter, he

has simply pled political speech by Defendants he apparently found distasteful. This

does not and cannot meet the rigorous standard for extreme and outrageous conduct.

Moreover, he has failed to explain how his emotional infirmities are so severe as to

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likely result in harmful physical consequences. This claim, too, fails and must be dis-

missed.

                                    CONCLUSION


      Plaintiff’s claims are but another in a series of baseless attacks made by the

political opponents of Donald J. Trump. Plaintiff’s Complaint is an abuse of the legal

system and an improper attempt to harass and malign a political opponent and his

son, Donald Trump, Jr.. Donald J. Trump and Donald Trump, Jr. respectfully request

this Court dismiss Plaintiff’s Complaint in its entirety as Plaintiff lacks standing, and

the Complaint fails to state even one claim upon which relief may be granted.


      Dated: May 24, 2021                             Respectfully submitted,



                                                      /s/
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                            CERTIFICATE OF SERVICE


      I certify that on May 24, 2021, a copy of the foregoing was filed with the Clerk

using the Court’s CM/ECF system, which will send a copy to all counsel of record.



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